          Case 1:23-cv-10290-ER         Document 11         Filed 02/08/24      Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


GOULSTON & STORRS PC,                                        Case No.: 1:23-cv-10290-ER

                         Plaintiff,                          CONFIDENTIALITY
                                                             STIPULATION AND
                   v.                                        PROTECTIVE ORDER

PHILIP PROUJANSKY,

                         Defendant.


EDGARDO RAMOS, United States District Judge:

       WHEREAS all of the parties to this action (collectively the “Parties” and individually a
“Party”) request that this Court issue a protective order pursuant to Federal Rule of Civil Procedure
26(c) to protect the confidentiality of certain nonpublic and confidential material that will be
exchanged pursuant to and during the course of discovery in this case;

         WHEREAS, the Parties, through counsel, agree to the following terms;

        WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords only
extends to the limited information or items that are entitled, under the applicable legal principles,
to confidential treatment;

        WHEREAS, the Parties further acknowledge that this Protective Order does not create
entitlement to file confidential information under seal; and

        WHEREAS, in light of these acknowledgements, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information the public
disclosure of which will cause harm to the producing person and/or third party to whom a duty of
confidentiality is owed, and to protect against injury caused by dissemination of confidential
documents and information, this Court finds good cause for issuance of an appropriately tailored
confidentiality order governing the pretrial phase of this action;

         IT IS HEREBY ORDERED that any person subject to this Protective Order—including
without limitation the Parties to this action, their representatives, agents, experts, and consultants,
all third parties providing discovery in this action, and all other interested persons with actual or
constructive notice of this Protective Order—shall adhere to the following terms:

        1.      Any person subject to this Protective Order who receives from any other person
subject to this Protective Order any “Discovery Material” (i.e., information of any kind produced
or disclosed pursuant to and in course of discovery in this action, including disclosures pursuant



                                                  1
4878-4543-3505, v. 3
          Case 1:23-cv-10290-ER           Document 11        Filed 02/08/24      Page 2 of 7




to Fed. R. Civ. P. 26(a)(1)) that is designated as “Confidential” or “Attorney’s Eyes Only” pursuant
to the terms of this Protective Order (hereinafter “Confidential Discovery Material”) shall not
disclose such Confidential Discovery Material to anyone else except as expressly permitted
hereunder.

        2.     The person producing any given Discovery Material may designate as
“Confidential” or, subject to Section 3, “Attorneys’ Eyes Only,” only such portion of such material
the public disclosure of which is either restricted by law or will cause harm to the business,
commercial, financial, or personal interests of the producing person and/or a third party to whom
a duty of confidentiality is used and that consists of:

         a.       attorney-client communications;

         b.       financial information (including without limitation profitability reports or
                  estimates, percentage fees, design fees, royalty rates, minimum guarantee
                  payments, sales reports, and sale margins);

         c.       previously undisclosed material relating to ownership or control of any non-public
                  company;

         d.       business plans, product development information (including without limitation
                  non-public technical and design information), or marketing plans;

         e.       any information which is competitively or commercially sensitive;

         f.       any information of a personal or intimate nature regarding any individual; or

         g.       any other category of information hereinafter given confidential status by the Court.

        3.      The Parties acknowledge that there may be Discovery Material for which a higher
level of protection is required and that such Discovery Material may be designated as “Attorneys’
Eyes Only.” This designation must be made in good faith and should be used only for Discovery
Material that has been originated or developed by the Party, not previously produced, and that
constitutes extremely sensitive technical, financial, or competitive information (e.g., future
product expansion plans), which is not generally known by third parties and which the Producing
Party would not normally reveal to third parties or would cause third parties to maintain in
confidence either by agreements, policies, or procedures.

        4.     With respect to the “Confidential” or “Attorney’s Eyes Only” portion of any
Discovery Material other than deposition transcripts and exhibits, the producing person or that
person’s counsel may designate such portion as “Confidential” or “Attorney’s Eyes Only” by
stamping or otherwise clearly marking as “Confidential” or “Attorney’s Eyes Only” the protected
portion in a manner that will not interfere with legibility or audibility. Except as otherwise
stipulated or ordered, Discovery Material must be designated as “Confidential” or “Attorney’s
Eyes Only” by clearly designating the material before it is disclosed or produced.

      5.      With respect to deposition transcripts, a producing person or that person’s counsel
may designate such portion as “Confidential” or “Attorney’s Eyes Only” either by (a) indicating



                                                    2
4878-4543-3505, v. 3
          Case 1:23-cv-10290-ER           Document 11        Filed 02/08/24      Page 3 of 7




on the record during the deposition that a question calls for “Confidential” or “Attorney’s Eyes
Only” information, in which case the reporter will bind the transcript of the designated testimony
(consisting of question and answer) in a separate volume and mark it as “Confidential Information
Governed by Protective Order” or “Attorney’s Eyes Only Information Governed by Protective
Order”; or (b) notifying the reporter and all counsel of record, in writing, within 30 days after a
deposition has concluded, of the specific pages and lines of the transcript and/or the specific
exhibits that are to be designated “Confidential” or “Attorney’s Eyes Only,” in which case all
counsel receiving the transcript will be responsible for marking the copies of the designated
transcript or exhibit (as the case may be), in their possession or under their control as directed by
the producing person or that person’s counsel by the reporter. During the 30-day period following
the conclusion of a deposition, the entire deposition transcript will be treated as if it had been
designated “Confidential” or “Attorney’s Eyes Only.”

        6.      If at any time prior to the trial of this action, a producing person realizes that some
portion(s) of Discovery Material that they had previously produced without limitation should be
designated as “Confidential” or “Attorney’s Eyes Only,” they may so designate by so apprising all
prior recipients of the Discovery Material in writing, and thereafter such designated portion(s) of
the Discovery Material will thereafter be deemed to be and treated as “Confidential” or “Attorney’s
Eyes Only” under the terms of this Protective Order, provided said Discovery Material contains
information which may be categorized as “Confidential” or “Attorney’s Eyes Only” as defined in
paragraphs 2 and 3 above.

        7.     No person subject to this Protective Order other than the producing person shall
disclose any of the Discovery Material designated by the producing person as “Confidential” to
any other person whomsoever, except to:

         a.       necessary employees of the Parties to this action;

         b.       counsel retained specifically for this action, including any paralegal, clerical and
                  other assistant employed by such counsel and assigned to this matter;

         c.       outside vendors or service providers (such as copy-service providers and document-
                  management consultants, graphic production services, or other litigation support
                  services) that counsel hire and assign to this matter, including computer service
                  personnel performing duties in relation to a computerized litigation system;

         d.       any mediator or arbitrator that the Parties engage in this matter or that this Court
                  appoints;

         e.       as to any document, its author, its addressee, and any other person indicated on the
                  face of the document as having received a copy;

         f.       any witness who counsel for a Party in good faith believes may be called to testify
                  at trial or deposition in this action, provided such person has first executed a Non-
                  Disclosure Agreement in the form annexed as an Exhibit hereto;

         g.       any person retained by a Party to serve as an expert witness or otherwise provide
                  specialized advice to counsel in connection with this action, provided such person


                                                    3
4878-4543-3505, v. 3
          Case 1:23-cv-10290-ER          Document 11        Filed 02/08/24      Page 4 of 7




                  has first executed a Non-Disclosure Agreement in the form annexed as an Exhibit
                  hereto;

         h.       stenographers engaged to transcribe depositions conducted in this action; and

         i.       this Court, including any appellate court, and the court reporters and support
                  personnel for the same.

        8.     Documents, materials or other information designated “Attorney’s Eyes Only”
shall be held in confidence and shall not be discussed, revealed, or disclosed in any manner or
form with or to any person or entity other than the persons identified in subparagraphs 7(b)-(e) and
7(g)-(i).

        9.      Prior to any disclosure of any Confidential Discovery Material to any person
referred to in subparagraphs 7(d), 7(f) or 7(g) above, such person shall be provided by counsel
with a copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form
annexed as an Exhibit hereto stating that that person has read this Protective Order and agrees to
be bound by its terms. Said counsel shall retain each signed Non-Disclosure Agreement, hold it
in escrow, and produce it to opposing counsel either prior to such person being permitted to testify
(at deposition or trial) or at the conclusion of the case, whichever comes first.

         10.      Any Party who objects to any designation of confidentiality may at any time prior
to the trial of this action serve upon counsel for the designating person a written notice stating with
particularity the grounds of the objection. If the Parties cannot reach agreement promptly, counsel
for all Parties will address their dispute to this Court in accordance with Paragraph 2(A)(i) of this
Court’s Individual Practices.

        11.      Recipients of “Confidential” and “Attorneys’ Eyes Only” Discovery Material under
this Protective Order may use such material solely for the prosecution and defense of this action
and any appeals thereto, and specifically may not use such Discovery Material for any business,
commercial, or competitive purpose. Nothing contained in this Protective Order, however, will
affect or restrict the rights of any person with respect to its own documents or information produced
in this action. Nor does anything contained in this Protective Order limit or restrict the rights of
any person to use or disclose information or material obtained independently from and not through
or pursuant to the Federal Rules of Civil Procedure.

        12.     Nothing in this Protective Order will prevent any person subject to it from
producing any Discovery Material in its possession in response to a lawful subpoena or other
compulsory process, or if required to produce by law or by any government agency having
jurisdiction; provided, however, that such person receiving a request, will provide written notice
to the producing person before disclosure and as soon as reasonably possible, and, if permitted by
the time allowed under the request, at least 10 days before any disclosure. Upon receiving such
notice, the producing person will have the right to oppose compliance with the subpoena, other
compulsory process, or other legal notice if the producing person deems it appropriate to do so.

       13.     All persons seeking to file redacted documents or documents under seal with the
Court shall follow Paragraph 3 of this Court’s Individual Practices. No person may file with the
Court redacted documents or documents under seal without first seeking leave to file such papers.


                                                   4
4878-4543-3505, v. 3
          Case 1:23-cv-10290-ER         Document 11        Filed 02/08/24      Page 5 of 7




All persons producing “Confidential” and “Attorneys’ Eyes Only” Discovery Material are deemed
to be on notice that the Second Circuit puts limitations on the documents or information that may
be filed in redacted form or under seal and that the Court retains discretion not to afford
confidential treatment to any “Confidential” and “Attorneys’ Eyes Only” Discovery Material
submitted to the Court or presented in connection with any motion, application or proceeding that
may result in an order and/or decision by the Court unless it is able to make the specific findings
required by law in order to retain the confidential nature of such material. Notwithstanding its
designation, there is no presumption that “Confidential” and “Attorneys’ Eyes Only” Discovery
Material will be filed with the Court under seal. The Parties will use their best efforts to minimize
such sealing.

        14.    All persons are hereby placed on notice that the Court is unlikely to seal or
otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial
or supporting or refuting any motion for summary judgment, even if such material has previously
been sealed or designated as “Confidential” and “Attorneys’ Eyes Only.” The Parties agree to
confer in good faith on a protective order to govern during trial in this action. This Stipulation and
Order, however, shall remain in effect until such time as an order to govern trial proceedings is
entered.

       15.       Any Party filing a motion or any other papers with the Court under seal shall also
publicly file a redacted copy of the same, via the Court’s Electronic Case Filing system, that redacts
only the “Confidential” and “Attorneys’ Eyes Only” Discovery Material itself, and not text that in
no material way reveals the “Confidential” and “Attorneys’ Eyes Only” Discovery Material.

       16.    Each person who has access to Discovery Material that has been designated as
“Confidential” or “Attorney’s Eyes Only” shall take all due precautions to prevent the
unauthorized or inadvertent disclosure of such material.

         17.    Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the persons who receive such information and are
bound by this Protective Order in a manner that is secure and confidential. In the event that the
person receiving PII experiences a data breach, she, he, or it shall immediately notify the producing
person of the same and cooperate with the producing person to address and remedy the breach.
Nothing herein shall preclude the producing person from asserting legal claims or constitute a
waiver of legal rights or defenses in the event of litigation arising out of the receiving person’s
failure to appropriately protect PII from unauthorized disclosure.

        18.     This Protective Order shall survive the termination of the litigation. Within 45 days
of the final disposition of this action, all Discovery Material designated as “Confidential” and
“Attorney’s Eyes Only” and all copies thereof shall be promptly returned to the producing person
or destroyed.

        19.     All persons subject to this Protective Order acknowledge that willful violation of
this Protective Order could subject them to punishment for contempt of Court. This Court shall
retain jurisdiction over all persons subject to this Protective Order to the extent necessary to
enforce any obligations arising hereunder or to impose sanctions for any contempt thereof.



                                                  5
4878-4543-3505, v. 3
          Case 1:23-cv-10290-ER   Document 11       Filed 02/08/24    Page 6 of 7




 GOULSTON & STORRS PC                         WOODS OVIATT GILMAN LLP

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 Attorneys for Plaintiff                      Attorneys for Defendant


Dated: February 5, 2024           SO ORDERED:
New York, NY
                                  ____________________________
                                  ____________________________
                                          Ramo os, U.S.D.J.
                                  Edgardo Ramos,
                                  'DWHG)HEUXDU\




                                          6
4878-4543-3505, v. 3
          Case 1:23-cv-10290-ER        Document 11        Filed 02/08/24      Page 7 of 7




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


GOULSTON & STORRS PC,                                      Case No.: 1:23-cv-10290-ER

                         Plaintiff,                        NON-DISCLOSURE AGREEMENT

                   v.

PHILIP PROUJANSKY,

                         Defendant.


        I, ___________________________, acknowledge that I have read and understand the
Protective Order in this action governing the non-disclosure of those portions of Discovery
Material that have been designated as Confidential. I agree that I will not disclose such
Confidential Discovery Material to anyone other than for purposes of this litigation and that at the
conclusion of the litigation I will either return all discovery information to the party or attorney
from whom I received it or destroy such discovery information. By acknowledging these
obligations under the Protective Order, I understand that I am submitting myself to the jurisdiction
of the United States District Court for the Southern District of New York for the purpose of any
issue or dispute arising hereunder and that my willful violation of any term of the Protective Order
could subject me to punishment for contempt of Court.

Dated:                                                       ____________________________




                                                 7
4878-4543-3505, v. 3
